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AO 91 (Rev. !1/11) Criminal Complaint

oe UNITED STATES DISTRICT COURT
SEALED

for the

District of Arizona

United States of America

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v. ) D> - Om? aes
(1) Shane Killian Burns, Case No.
(2) Christina Danielle Patacky-Beghin,
_ +)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of July 19, 2022 in the county of Maricopa in the
District of Arizona , the defendant(s) violated:
Code Section Offense Description

21 U.S.C. §§ 846, §§ 841(a)(1) and Conspiracy to Possess with Intent to Distribute a Controlled Substance
(b)(1)(A)(viii) (methamphetamine)

This,criminal complaint is based on these facts:
See Attached Statement of Probable Cause, Incorporated by Reference Herein

Continued on the attached sheet.

s Digitally signed by KEVIN MCCARTHY
KEVI N MCCA RTH VApate 20221 0.27 13:44:40 -07°00"

Reviewed by AUSA Margaret Perlmeter

MARGAR' , Digitally signed by MARGARET
RGARET # PERLMETER

PERLMETER Date: 2022.10.27 15:20:20 -07°00' Kevin McCarthy, Special Agent

Complainant's signature

Printed name and title

Subscribed electronically, sworn to telephonically.

Date:O Caloer 27 , AD VWyA00, AR

Judge's signature

City and state: Phoenix, Arizona U.S. Magistrate Judge Michelle H. Burns

Printed name and title
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STATEMENT OF PROBABLE CAUSE

I, Kevin M. McCarthy, Special Agent of the Federal Bureau of Investigation, being

duly sworn, depose and state under oath that:

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INTRODUCTION AND BACKGROUND OF AFFIANT

I am a Special Agent of the Federal Bureau of Investigation (FBI) and have been
since February of 2020. I have completed a 22-week basic training course in
Quantico, Virginia which included training in the investigation of narcotics
trafficking throughout the United States. Part of my training as a special agent
included instruction on surveillance, legal instruction, and interview tactics. I am
currently assigned to the Organized Crime Drug Trafficking Strike Force which is
responsible for investigating drug trafficking throughout Arizona.

I have assisted on numerous drug trafficking investigations for violations of Title
21, United States Code, Sections 841(a)(1) (Possession with Intent to Distribute a
Controlled Substance) and 846 (Conspiracy to Possess with Intent to Distribute a
Controlled Substance). Specifically, I have interviewed witnesses and confidential
sources involved in drug trafficking who described methods and tactics commonly
used in furtherance of said drug activity. I have also conducted hours of surveillance
on individuals who later pled guilty to drug related charges. I was previously a
member of the FBI Evidence Recovery Team which was responsible for the
collection and inventory of evidence collected during crime scene searches. Prior
to employment by the FBI, I was employed as a Chicago Police Officer from August
2016 until September 2019. While employed as a Chicago Police Officer, -I
participated in numerous narcotics and weapons related operations involving
investigation, surveillance, and arrests.

I submit that there is probable cause to believe that Shane Killian Burns (BURNS)
and Christina Danielle Patacky-Beghin (PATACKY) did knowingly and
intentionally combine, conspire, confederate, and agree with other persons known

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and unknown to possess with intent to distribute 500 grams or more of a mixture of
substance containing a detectable amount of methamphetamine, a Schedule II
controlled substance, in violation of 21 U.S.C. § 846 (Conspiracy to Possess with
Intent to Distribute a Controlled Substance), and 21 U.S.C. §§ 841(a)(1) and
(b)(1)(A)(viii) (Possession with Intent to Distribute a Controlled Substance).

In preparing this Affidavit, I rely on my personal knowledge of the investigation or
have learned the facts of the investigation from other law enforcement officers. I
have relied on my training, experience, and background in law enforcement to
evaluate this information. Because this Affidavit is being submitted for the limited
purpose of establishing probable cause, I have not included each and every fact
known to me concerning this investigation. I have set forth only the facts that I
believe are necessary to establish probable cause in support of a criminal complaint
for BURNS and PATACKY.

PROBABLE CAUSE

On July 19, 2022, an FBI Undercover Employee (UCE) made telephonic contact
with BURNS regarding the proposed purchase of six pounds of methamphetamine
and 7,500 fentany! pills.) BURNS and UCE communicated via voice calls and text
messages leading up to and following the deal. Prior to this telephone conversation
on July 19, the UCE had face-to-face contact and other telephone contact with
BURNS and recognized the voice on the phone on July 19 as BURNS. BURNS
agreed to deliver the drugs for the negotiated purchase price of $10,000.00 and
informed the UCE that he would send his driver to the deal location: the Talking
Stick Resort and Casino parking lot located at 9800 Talking Stick Way, Scottsdale,
Arizona 85265. At approximately 18:00 hours BURNS informed the UCE that his
driver would arrive to the deal location in a red Lexus.

At approximately 18:05 hours, the UCE met with a female, later identified as
PATACKY near the front entrance of the casino. The UCE advised PATACKY

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which vehicle the UCE would be driving and requested PATACKY follow.
PATACKY then followed the UCE in her red Lexus bearing Arizona license plate
“63A6CYA” to a section of the casino parking lot, where PATACKY parked her
vehicle, retrieved a box from the trunk of her vehicle, and entered UCE’s vehicle
with the box in her hand.

The UCE tendered $10,000.00 payment to PATACKY and requested PATACKY
count the money. The UCE took possession of the open box that PATACKY
brought with her and placed it on floor area of the front seat. While doing so, the
narcotics packaging within the box was visible to the UCE. PATACKY confirmed
the $10,000.00 amount before departing.

Immediately following this interaction with PATACKY, the UCE met with FBI
Special Agents to turn over the drug evidence and audio/visual recording devices.
Special Agents examined the box and observed inside multiple clear plastic bags
containing a white crystal substance. Also observed inside the box was packaging
containing round, blue pills marked M and 30. The evidence was transported to the
FBI Phoenix field office. A field test of the white crystal substance returned a
positive result for the presence of methamphetamine. The gross aggregate weight
of the suspected methamphetamine was approximately 2,764.3 grams. The gross
aggregate weight of the round, blue pills marked M and 30 was approximately 923.7
grams and is pending laboratory testing.

Based on the facts and circumstances set forth in this Affidavit, I submit that there
is probable cause to believe that PATACKY and BURNS did knowingly and
intentionally combine, conspire, confederate, and agree with other persons known
and unknown to possess with intent to distribute 500 grams or more of a mixture of
substance containing a detectable amount of methamphetamine, a Schedule II

controlled substance, in violation of 21 U.S.C. § 846 (Conspiracy to Possess with
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Intent to Distribute a Controlled Substance), and 21 U.S.C. §§ 841(a)(1) and

(b)(1)(A)(viii) (Possession with Intent to Distribute a Controlled Substance).

7 Digitally signed by KEVIN MCCARTHY
KEVIN MCCA RTHY ste: 2022.10.27 13:45:20-0700

KEVIN M. McCARTHY
Special Agent
Federal Bureau of Investigation

Subscribed electronically and sworn to telephonically on thee / day of October,

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HONORABLE MICHELLE H. BURNS
UNITED STATES MAGISTRATE JUDGE

